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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
UNITED STATES OF AMERICA,
Plaintiff,
Case No. O4 £0370 -18
v. Hon. John Corbett O"Meara
‘T5519 San d.aliall bofko - 018
Defendant.
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GUILTY PLEA QUESTIONNAIRE 377" 4,
AND CERTIFICATE OF COUNSEL rine {TI
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The defendant me oy the Court: Pe
1. Mynameis “//4551h Gann raiial Beto
bd years old. I have gone to schol up to

2.

 

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ijrel ing the / 5). Bhai
My attomey is__ /7/ AZ, t. MMAA lA LY? _
My attorney and I have fully discussed my case. | have received a copy of the
Indictment or Information, I have read the Indictment or Information, or it has been read to me, and
T have discussed it with my attomey. My attorney has counseled and advised me conceming the
nature of each charge, any lesser-included offense(s), and the possible defenses that I might have in
this case. I have been advised and understand that the elements of the ch
to which I am pleading “GUILTY” are as follows:

arge(s) alleged against me
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Guilty Plea Questionnaire and Certificate of Counsel

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have had a full and ade

  
 

to my case.
4. I know that if f plead "GUILTY," I will have to answer any questions that the judge

asks me about the offense(s) to which I am pleading guilty. I also know that if ] answer falsely,
under oath and in the presence of my attorney, my answers could be used against me ina
prosecution for perjury or false statement.

5. Tam not under the influence of alcohol or drugs. I am not suffering from any

injury, jlinegs or/disabjlity affecting my Pipe’ of my abjlity to reason except as follows,
“Debondint halos ie [eating Fou. head: Ah CA Mi _.}

have not takeg any drugs or medigations wjthin the : a tas f
_ ie A é Z “es :
6. understand that conviction of a crime can result in consequeneés j

imprisonment, Such consequences include deportation or removal from the United States or denial
of naturalization, if 1 am not a United States citizen; loss of eligibility to receive federal benefits:
loss of certain civil rights (which may be temporary or permanent depending upon applicable state
or federal law), such as the right to vote, to hold public office, and to possess a firearm: and loss of
the privilege to engage in certain occupations licensed by the state or federal government.

 
  
   

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7, 1 know that J may plead "NOT GUILTY" to any crime charged against me and

that ] may continue in that plea if it has already been made, I know that if I plead "NOT GUILTY"

the Constitution guarantees me:

a. The right to a speedy and public trial by jury, during which I will be
presumed to be innocent unless and until I am proven guilty by the government beyond a reasonable
doubt and by the unanimous vote of 12 jurors.

b. The right to have the assistance of an attorney at all stages of the
proceedings.

c. The right to use the power and process of the court to compel the

production of evidence, including the attendance of witnesses in my favor;

d. The right to see, hear, confront and cross-examine all witnesses called to
testify against me;

€. The right to decide for myself whether to take the witness stand and
testify and, if T decide not to take the witness stand, J understand that no inference of guilt may be
drawn from this decision; and

f. The right not to be compelled to incriminate myself.

8. I know that if] plead “GUILTY” there will be no trial before either a judge ora
jury, and that T will not be able to appeal from the judge’s denial of any pretrial motions { may have
filed concerning matters or issues not related to the court’s Jurisdiction unless specifically reserved
in the Rule 11 Plea Agreement.

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9. In this case I am pleading "GUILTY" under Rule 11(e)(1\C). My attorney has
explained the effect of my plea under Rule 11(e}(a)(C). The judge, at the time of sentencing, must
either impose the specific sentence agreed upon by the prosecutor and me, or allow me to withdraw
my plea.

10, I know the maximum sentence which can be imposed upon me for the crime(s) to
which I am pleading guiltyis_ Go YéAaS
imprisonment and a fine of 8 959, a77D, tv _._.. Lalso know there is a mandatory
Minimum sentence of “9 *— years of imprisonment.

11. I know that the judge, in addition to any other penalty, will order a special
assessment as provided by law in the amount of § / gw. 7? per count of conviction.

(2. [ know that, if] am ordered to pay a fine and I willfully refuse to pay that fine, I
can be returned to court where the amount of the unpaid balance owed on the fine can be
substantially increased by the judge and I can be imprisoned for up to one year.

13. My attorney has discussed with me the Federal Sentencing Guidelines, I know
that under the Federal Sentencing Guidelines, the sentencing judge will ordinarily select a sentence
from within the guideline range. However, if a case presents unusual facts or other circumstances,
the law permits the judge to depart from the guidelines and impose a sentence either above or below
the guideline range. Although most sentences will be imposed within the guideline range, I know
that there is no guarantee that my sentence will be within the guideline range. If my attorney or any

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other person has calculated a guideline range for me, I know that this is only a prediction and that it
is the judge who makes the final decision as to what the guideline range is and what sentence will be
imposed. I also know that a judge may not impose a sentence greater than the maximum sentence
teferred to in paragraph (10) above,

14. T understand that under the Federal Sentencing Guidelines, if] am sentenced to
prison, I am not entitled to parole, I will have to serve the full sentence imposed except for any
credit for good behavior that I may earn. Credit for good behavior does not apply to a sentence of
one year or less.

15. I know that, if am sentenced to prison, the judge will impose a term of

supervised release to follow the prison sentence, During my supervised release term I will be
supervised by a probation officer according to terms and conditions set by the judge. In my case, a
term of supervised release can be oN to 3 years. If violate the
conditions of supervised release, I may be sent back to prison.

16. 1 know that, in addition to or in lieu of any other penalty, the judge can order
restitution payments to any victim of any offense to which I plead guilty. I am also informed that,
for certain crimes of violence and crimes involving fraud or deceit, it is mandatory that the judge
impose restitution in the full amount of any financial loss or harm caused by an offense. If imposed,
the victim can use the order of restitution to obtain a civil judgment lien. A restitution order can be
enforced by the United States for up to twenty (20) years from the date of my release from
imprisonment or, if | am not imprisoned, twenty (20) years from the date of the entry of judgment.
If I willfully refuse to pay restitution as ordered, a judge may resentence me to any sentence which
could originally have been imposed,

 

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17. On any fine or restitution in an amount of $2,500 or more, I know that I will be
required to pay interest unless that fine or restitution is paid within fifteen (15) days from the date of

the entry of judgment.

18, If Tam on probation, parole or supervised release in any other state or federal
case, I know that by pleading guilty in this court my probation, parole or supervised release may be
revoked and I may be required to serve time in that case, which may be consecutive, that is, in
addition to any sentence imposed on me in this court.

19. If Thave another case pending in any state or federal court, I know that my
Guilty Plea Questionnaire and Plea Agreement in this case do not, in the absence of an express and
written agreement, apply to my other case(s), and that I can be faced with consecutive sentences of
imprisonment.

20. My plea of "GUILTY" is based on a Plea Agreement that T have made with the
prosecutor. I have read or had read to me the Plea A greement, and | understand the Plea Agreement.

21. The Plea Agreement contains the only agreement between the United States
government and me. No officer or agent of any branch of government (federal, state or local) or
anyone else has promised or suggested that I will receive a lesser term of imprisonment, or
probation, or any other form of lenience if I plead "GUILTY" except as stated in the Plea
Agreement. I understand that [ cannot rely on any promise or suggestion made to me bya
government agent or officer which is not stated in writing in the Plea Agreement, or which is not

 

 
  
 
 

 

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presented to the Judge in my presence in open court at the time of the entry of my plea of guilty.

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22. My plea of "GUILTY" is not the result of force, threat or intimidation.

23. Thereby request that the Judge accept my plea of "GUILTY" to the fol wilg
count(s): Cavnt 4% Conspinacy Con cmt Bek sad Mint Fe nf

f4—FT

 

24. IT know that the judge must be satisfied that a crime occurred and that I committed
that crime before my plea of “GUILTY” can be accepted. With respect to the charge(s) to which I
am pleading guilty, | represent that] did the following acts and the following a¢ts are true:
| Feo La fo f/0h. Aa kil with Obed 0 fetta, 151-€KS

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25. offer my plea of "GUILTY" freely, voluntarily and of my own accord and with a
full understanding of the allegations set forth in the Indictment or Information and with a ful]
understanding of the statements set forth in this Guilty Plea Questionnaire and in the Certificate of
my attorney that is attached to this Guilty Plea Questionnaire.

SIGNED by me in the presence of my attorney, after reading (or having had read to me) all
of the foregoing pages and paragraphs of this Guilty Plea Questionnaire on this . 4 “ day of

August. 20 0h .
wand bella

Defendant

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CERTIFICATE OF COUNSEL

The undersigned, as attorney for defendant MN §5/ 4 4 i henna

hereby certifies:

1, I have fully explained to the defendant the allegations contained in the Indictment
or Information in this case any lesser-included offense(s) and the possible defenses which may apply
in this case.

2. I have personally examined the attached Guilty Plea Questionnaire, explained
all its provisions to the defendant, and discussed fully with the defendant all matters described and
referred to in the Guilty Plea Questionnaire.

3, { have explained to the defendant the maximum penalty and other consequences
of entering a plea of guilty, described in paragraphs (6) - (20) of the Guilty Plea Questionnaire, and I
have also explained to the defendant the applicable Federal Sentencing Guidelines,

4. recommend that the Court accept the defendant's plea of "GUILTY."

SIGNED by me in the presence of the above-name endant After full discussion with the
defendant of the contents of the Guilty Plea Questionnaipé and any Plya Agrgement, on this
UY Attomey for Defendant

Ma U Wipaaherr

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